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                              Beverley B. Schottenstein
                      Commission Runs - Monthly Details Combined
                             April 2014 through April 2019
                                  JPM       6923 PM7


                         Total Gross        Schottenstein          Schottenstein
        Month           Commissions         Commissions             % of Total

          Apr-14             3,095.65                 -                    0.00%
          May-14            89,240.82           80,345.08                 90.03%
          Jun-14           236,072.82          227,603.01                 96.41%
           Jul-14           88,615.69           61,920.31                 69.88%
          Aug-14           406,414.54          393,032.12                 96.71%
          Sep-14           117,823.05          103,538.84                 87.88%
          Oct-14           203,258.56          196,384.52                 96.62%
          Nov-14            63,060.26           48,275.36                 76.55%
          Dec-14           182,854.78          167,281.90                 91.48%

      YTD Totals          1,390,436.17        1,278,381.14                91.94%

          Jan-15           205,533.91          165,431.92                 80.49%
          Feb-15           195,248.19          168,522.32                 86.31%
          Mar-15           259,181.60          232,272.28                 89.62%
          Apr-15           181,124.80          156,700.58                 86.52%
          May-15            42,118.87           31,892.34                 75.72%
          Jun-15            22,086.48            9,431.97                 42.70%
           Jul-15           22,901.52           13,378.23                 58.42%
          Aug-15             7,746.54            3,684.48                 47.56%
          Sep-15            20,642.40           13,120.61                 63.56%
          Oct-15            17,062.55            9,419.28                 55.20%
          Nov-15             5,278.96            3,749.63                 71.03%
          Dec-15            35,625.80           32,644.34                 91.63%

      Yearly Totals       1,014,551.62         840,247.98                 82.82%

          Jan-16            34,415.41            15,294.97                44.44%
          Feb-16            42,284.89            22,348.80                52.85%
          Mar-16            39,422.23            28,455.43                72.18%
          Apr-16            28,238.23            11,509.72                40.76%
          May-16            20,556.62             5,075.77                24.69%
          Jun-16            15,333.28             5,975.43                38.97%
           Jul-16           56,694.01            24,466.12                43.15%
          Aug-16            43,502.13            39,375.44                90.51%
          Sep-16            70,735.41            39,509.99                55.86%
          Oct-16            43,615.85            13,022.93                29.86%
          Nov-16            56,787.11            35,151.39                61.90%
          Dec-16            43,848.75            35,957.78                82.00%

      Yearly Totals        495,433.92          276,143.77                 55.74%
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                              Beverley B. Schottenstein
                      Commission Runs - Monthly Details Combined
                             April 2014 through April 2019
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                          Total Gross       Schottenstein          Schottenstein
        Month            Commissions        Commissions             % of Total

          Jan-17             30,543.91          15,768.56                 51.63%
          Feb-17             24,995.91           3,777.12                 15.11%
          Mar-17             66,595.21          46,543.60                 69.89%
          Apr-17             56,238.79          33,953.51                 60.37%
          May-17             14,822.32          10,000.56                 67.47%
          Jun-17             32,791.60          20,511.55                 62.55%
           Jul-17            91,259.99          55,279.50                 60.57%
          Aug-17            148,000.02         125,347.90                 84.69%
          Sep-17             84,758.75          78,449.10                 92.56%
          Oct-17            106,707.48          60,455.49                 56.66%
          Nov-17            103,271.47          98,704.14                 95.58%
          Dec-17             56,683.05          52,385.74                 92.42%

      Yearly Totals         816,668.50         601,176.77                 73.61%

          Jan-18            109,918.42          77,861.25                 70.84%
          Feb-18             15,254.17           3,432.04                 22.50%
          Mar-18             45,691.68          39,407.99                 86.25%
          Apr-18             58,602.91          29,209.97                 49.84%
          May-18             87,669.85          84,266.74                 96.12%
          Jun-18             59,449.23          55,736.75                 93.76%
           Jul-18            94,449.42          67,060.95                  0.00%
          Aug-18             91,406.66          86,177.11                 94.28%
          Sep-18            268,157.48         247,808.68                 92.41%
          Oct-18             83,827.88          47,058.89                 56.14%
          Nov-18             77,705.64          71,345.50                 91.82%
          Dec-18             37,139.66          31,837.90                 85.72%

      Yearly Totals        1,029,273.00        841,203.77                 81.73%

          Jan-19              47,168.34          17,351.79                36.79%
          Feb-19              26,687.50           3,439.86                12.89%
          Mar-19              12,577.69           3,445.51                27.39%
          Apr-19              41,470.42          13,187.11                31.80%
          May-19              15,322.51           7,397.25                48.28%
          Jun-19              12,742.29           3,439.02                26.99%

      YTD Totals            155,968.75           48,260.54                30.94%


      Grand Totals         4,902,331.96       3,885,413.97                79.26%




      *Comission data not provided
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                            Beverley B. Schottenstein
                      Commission Runs - Monthly Details Evan
                          April 2014 through April 2019
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                       Total Gross        Schottenstein        Schottenstein
        Month         Commissions         Commissions           % of Total

          Apr-14           3,095.65                  -                 0.00%
          May-14          89,240.82            80,345.08              90.03%
          Jun-14         236,072.82           227,603.01              96.41%
           Jul-14         88,615.69            61,920.31              69.88%
          Aug-14         406,414.54           393,032.12              96.71%
          Sep-14         117,823.05           103,538.84              87.88%
          Oct-14         203,258.56           196,384.52              96.62%
          Nov-14          63,060.26            48,275.36              76.55%
          Dec-14         182,854.78           167,281.90              91.48%

      YTD Totals       1,390,436.17         1,278,381.14              91.94%

          Jan-15         205,533.91           165,431.92              80.49%
          Feb-15         195,248.19           168,522.32              86.31%
          Mar-15         259,181.60           232,272.28              89.62%
          Apr-15         181,124.80           156,700.58              86.52%
          May-15          42,118.87            31,892.34              75.72%
          Jun-15          22,086.48             9,431.97              42.70%
           Jul-15         22,901.52            13,378.23              58.42%
          Aug-15           7,746.54             3,684.48              47.56%
          Sep-15          20,642.40            13,120.61              63.56%
          Oct-15          17,062.55             9,419.28              55.20%
          Nov-15           5,278.96             3,749.63              71.03%
          Dec-15          35,625.80            32,644.34              91.63%

      Yearly Totals    1,014,551.62           840,247.98              82.82%

          Jan-16          34,415.41            15,294.97              44.44%
          Feb-16          42,284.89            22,348.80              52.85%
          Mar-16          39,422.23            28,455.43              72.18%
          Apr-16          28,238.23            11,509.72              40.76%
          May-16          20,531.37             5,068.48              24.69%
          Jun-16          13,675.45             5,409.79              39.56%
           Jul-16         49,423.16            21,311.75              43.12%
          Aug-16          36,010.99            32,132.91              89.23%
          Sep-16          57,719.01            32,242.14              55.86%
          Oct-16          37,827.17            12,111.37              32.02%
          Nov-16          48,053.83            29,418.40              61.22%
          Dec-16          36,903.57            29,405.06              79.68%

      Yearly Totals      444,505.31           244,708.82              55.05%
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                               Beverley B. Schottenstein
                         Commission Runs - Monthly Details Evan
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                          Total Gross        Schottenstein        Schottenstein
        Month            Commissions         Commissions           % of Total

          Jan-17              28,639.81           14,328.03              50.03%
          Feb-17              21,576.86            3,663.75              16.98%
          Mar-17              55,784.03           37,878.39              67.90%
          Apr-17              49,909.19           28,958.92              58.02%
          May-17              14,310.92            9,797.14              68.46%
          Jun-17              28,153.83           17,057.56              60.59%
           Jul-17             78,924.55           46,018.46              58.31%
          Aug-17              94,151.85           76,631.80              81.39%
          Sep-17              53,811.30           48,375.80              89.90%
          Oct-17              73,846.23           39,964.38              54.12%
          Nov-17              64,817.57           60,535.30              93.39%
          Dec-17              37,011.46           32,747.44              88.48%

      Yearly Totals         600,937.60           415,956.97              69.22%

          Jan-18             76,922.40            50,277.48              65.36%
          Feb-18             12,954.16             3,381.85              26.11%
          Mar-18             30,749.02            24,970.43              81.21%
          Apr-18             44,063.47            19,406.70              44.04%
          May-18             46,833.66            43,798.61              93.52%
          Jun-18             33,006.72            29,537.80              89.49%
           Jul-18            59,217.82            37,579.83               0.00%
          Aug-18             49,153.75            44,766.25              91.07%
          Sep-18            137,996.12           125,586.25              91.01%
          Oct-18             55,856.31            27,836.04              49.84%
          Nov-18             40,833.70            37,362.99              91.50%
          Dec-18             21,107.89            15,918.95              75.42%

      Yearly Totals         608,695.02           460,423.18              75.64%

          Jan-19              38,914.93           14,772.98              37.96%
          Feb-19              17,955.95            3,422.81              19.06%
          Mar-19               9,628.93            3,429.50              35.62%
          Apr-19              35,397.46           12,966.36              36.63%
          May-19              10,836.45            5,413.82              49.96%
          Jun-19              10,294.18            3,439.02              33.41%

      YTD Totals            123,027.90            43,444.49              35.31%


      Grand Totals         4,182,153.62        3,283,162.58              78.50%




      *Comission data not provided
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                              Beverley B. Schottenstein
                         Commission Runs - Monthly Details Avi
                            April 2014 through April 2019
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                          Total Gross        Schottenstein       Schottenstein
           Month         Commissions         Commissions          % of Total

             Apr-14               -                    -                 0.00%
             May-14               -                    -                 0.00%
             Jun-14               -                    -                 0.00%
              Jul-14              -                    -                 0.00%
             Aug-14               -                    -                 0.00%
             Sep-14               -                    -                 0.00%
             Oct-14               -                    -                 0.00%
             Nov-14               -                    -                 0.00%
             Dec-14               -                    -                 0.00%

         YTD Totals               -                    -                 0.00%

             Jan-15               -                    -                 0.00%
             Feb-15               -                    -                 0.00%
             Mar-15               -                    -                 0.00%
             Apr-15               -                    -                 0.00%
             May-15               -                    -                 0.00%
             Jun-15               -                    -                 0.00%
              Jul-15              -                    -                 0.00%
             Aug-15               -                    -                 0.00%
             Sep-15               -                    -                 0.00%
             Oct-15               -                    -                 0.00%
             Nov-15               -                    -                 0.00%
             Dec-15               -                    -                 0.00%

         Yearly Totals            -                    -                 0.00%

             Jan-16               -                    -                 0.00%
             Feb-16               -                    -                 0.00%
             Mar-16               -                    -                 0.00%
             Apr-16               -                    -                 0.00%
             May-16             25.25                 7.29              28.87%
             Jun-16          1,657.83               565.64              34.12%
              Jul-16         7,270.85             3,154.37              43.38%
             Aug-16          7,491.14             7,242.53              96.68%
             Sep-16         13,016.40             7,267.85              55.84%
             Oct-16          5,788.68               911.56              15.75%
             Nov-16          8,733.28             5,732.99              65.65%
             Dec-16          6,945.18             6,552.72              94.35%

         Yearly Totals      50,928.61            31,434.95              61.72%
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                              Beverley B. Schottenstein
                         Commission Runs - Monthly Details Avi
                            April 2014 through April 2019
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                          Total Gross        Schottenstein       Schottenstein
           Month         Commissions         Commissions          % of Total

             Jan-17          1,904.10             1,440.53              75.65%
             Feb-17          3,419.05               113.37               3.32%
             Mar-17         10,811.18             8,665.21              80.15%
             Apr-17          6,329.60             4,994.59              78.91%
             May-17            511.40               203.42              39.78%
             Jun-17          4,637.77             3,453.99              74.48%
              Jul-17        12,335.44             9,261.04              75.08%
             Aug-17         53,848.17            48,716.10              90.47%
             Sep-17         30,947.45            30,073.30              97.18%
             Oct-17         32,861.25            20,491.11              62.36%
             Nov-17         38,453.90            38,168.84              99.26%
             Dec-17         19,671.59            19,638.30              99.83%

         Yearly Totals     215,730.90           185,219.80              85.86%

             Jan-18         32,996.02            27,583.77              83.60%
             Feb-18          2,300.01                50.19               2.18%
             Mar-18         14,942.66            14,437.56              96.62%
             Apr-18         14,539.44             9,803.27              67.43%
             May-18         40,836.19            40,468.13              99.10%
             Jun-18         26,442.51            26,198.95              99.08%
              Jul-18        35,231.60            29,481.12              83.68%
             Aug-18         42,252.91            41,410.86              98.01%
             Sep-18        130,161.36           122,222.43              93.90%
             Oct-18         27,971.57            19,222.85              68.72%
             Nov-18         36,871.94            33,982.51              92.16%
             Dec-18         16,031.77            15,918.95              99.30%

         Yearly Totals     420,577.98           380,780.59              90.54%

             Jan-19          8,253.41             2,578.81              31.25%
             Feb-19          8,731.55                17.05               0.20%
             Mar-19          2,948.76                16.01               0.54%
             Apr-19          6,072.96               220.75               3.63%
             May-19          4,486.06             1,983.43              44.21%
             Jun-19          2,448.11                  -                 0.00%

         YTD Totals         32,940.85             4,816.05              14.62%


         Grand Totals      720,178.34           602,251.39              83.63%
